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     7                    UNITED STATES DISTRICT COURT
     8
                         CENTRAL DISTRICT OF CALIFORNIA
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    10
                                     SOUTHERN DIVISION

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    12
                                                     Case No.
    13   MORENIKE BALOGUN,                           SA CV 17-0796-DOC (JCGx)
    14
                        Plaintiff,
    15

    16   v.
                                                     ORDER GRANTING JOINT
    17
         WINN LAW GROUP, APC AND                     STIPULATION TO DISMISS WITH
    18   FIRST RESOLUTION                            PREJUDICE
    19   INVESTMENT CORPORATION,
    20                  Defendant
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    22
                                                     Before Hon. David O Carter
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                           Order Granting Stipulation to Dismiss With Prejudice
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Case 8:17-cv-00796-DOC-JCG Document 75 Filed 03/06/18 Page 2 of 2 Page ID #:874



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         Pursuant to the parties’ stipulation, IT IS HEREBY ORDERED that the
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         action of Plaintiff MORENIKE BALOGUN against Defendants WINN LAW

     4   GROUP, APC and FIRST RESOLUTION INVESTMENT CORPORATION,
     5
         be dismissed with prejudice pursuant to Rule 41(a)(1)(A)(ii) of the Federal
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     7   rules of Civil Procedure.
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           Dated: March 6, 2018
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    14                                          Hon. David O. Carter
    15
                                                United States District Court Judge

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                              Order Granting Stipulation to Dismiss With Prejudice
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